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                             UNITED STATES DISTRICT COURT
                                DISTRICT OF DELAWARE


ROBERT LOWINGER, Individually and On
Behalf of All Others Similarly Situated,
                                                       Civil Action No. ______________
                               Plaintiff,
                                                       CLASS ACTION
               v.
                                                       JURY TRIAL DEMANDED
USG CORPORATION, JOSE ARMARIO,
THOMAS A. BURKE, MATTHEW CARTER,
JR., GRETCHEN R. HAGGERTY, WILLIAM
H. HERNANDEZ, BRIAN A. KENNEY,
RICHARD P. LAVIN, STEVEN F. LEER, and
JENNIFER F. SCANLON,

                               Defendants.


                    CLASS ACTION COMPLAINT FOR VIOLATIONS OF
                       THE SECURITIES EXCHANGE ACT OF 1934

       Plaintiff, by his undersigned attorneys, for this complaint against defendants, alleges

upon personal knowledge with respect to himself, and upon information and belief based upon,

inter alia, the investigation of counsel as to all other allegations herein, as follows:

                                   NATURE OF THE ACTION

       1.      This action stems from a proposed transaction announced on June 11, 2018 (the

“Proposed Transaction”), pursuant to which USG Corporation (“USG” or the “Company”) will

be acquired by Gebr. Knauf KG (“Parent”) and its indirect wholly-owned subsidiary, World Cup

Acquisition Corporation (“Merger Sub” and together with Parent, “Knauf”).

       2.      On June 10, 2018, USG’s Board of Directors (the “Board” or “Individual

Defendants”) caused the Company to enter into an agreement and plan of merger (the “Merger

Agreement”) with Knauf. Pursuant to the terms of the Merger Agreement, if the Proposed

Transaction is approved by USG’s shareholders and completed, USG’s stockholders will receive
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$43.50 in cash for each share of USG common stock they own, plus a conditional special cash

dividend of $0.50 per share if the Proposed Transaction is approved by USG’s stockholders at

the special stockholder meeting, which is currently scheduled to take place on September 26,

2018.

        3.     On August 23, 2018, defendants filed a proxy statement (the “Proxy Statement”)

with the United States Securities and Exchange Commission (“SEC”) in connection with the

Proposed Transaction.

        4.     The Proxy Statement omits material information with respect to the Proposed

Transaction, which renders the Proxy Statement false and misleading. Accordingly, plaintiff

alleges herein that defendants violated Sections 14(a) and 20(a) of the Securities Exchange Act

of 1934 (the “1934 Act”) in connection with the Proxy Statement.

                                 JURISDICTION AND VENUE

        5.     This Court has jurisdiction over the claims asserted herein pursuant to Section 27

of the 1934 Act because the claims asserted herein arise under Sections 14(a) and 20(a) of the

1934 Act and Rule 14a-9.

        6.     This Court has jurisdiction over defendants because each defendant is either a

corporation that conducts business in and maintains operations within this District, or is an

individual with sufficient minimum contacts with this District so as to make the exercise of

jurisdiction by this Court permissible under traditional notions of fair play and substantial justice.

        7.     Venue is proper under 28 U.S.C. § 1391(b) because a substantial portion of the

transactions and wrongs complained of herein occurred in this District.

                                             PARTIES

        8.     Plaintiff is, and has been continuously throughout all times relevant hereto, the

owner of USG common stock.


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       9.      Defendant USG is a Delaware corporation and maintains its principal executive

offices at 550 West Adams Street, Chicago, Illinois 60661. USG’s common stock is traded on

the NYSE under the ticker symbol “USG.” USG is a party to the Merger Agreement.

       10.     Defendant Jose Armario (“Armario”) is a director of USG.

       11.     Defendant Thomas A. Burke (“Burke”) is a director of USG.

       12.     Defendant Matthew Carter, Jr. (“Carter”) is a director of USG.

       13.     Defendant Gretchen R. Haggerty (“Haggerty”) is a director of USG.

       14.     Defendant William H. Hernandez (“Hernandez”) is a director of USG.

       15.     Defendant Brian A. Kenney (“Kenney”) is a director of USG.

       16.     Defendant Richard P. Lavin (“Lavin”) is a director of USG.

       17.     Defendant Steven F. Leer (“Leer”) is the Chairman of the Board of USG.

       18.     Defendant Jennifer F. Scanlon (“Scanlon”) is the Chief Executive Officer

(“CEO”), President, and a director of USG.

       19.     The defendants identified in paragraphs 10 through 18 are collectively referred to

herein as the “Individual Defendants.”

                               CLASS ACTION ALLEGATIONS

       20.     Plaintiff brings this action as a class action on behalf of himself and the other

public stockholders of USG (the “Class”). Excluded from the Class are defendants herein and

any person, firm, trust, corporation, or other entity related to or affiliated with any defendant.

       21.     This action is properly maintainable as a class action.

       22.     The Class is so numerous that joinder of all members is impracticable. As of June

7, 2018, there were 139,462,508 shares of USG common stock outstanding, held by hundreds, if

not thousands, of individuals and entities scattered throughout the country.




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        23.     Questions of law and fact are common to the Class, including, among others,

whether defendants violated the 1934 Act and whether defendants will irreparably harm plaintiff

and the other members of the Class if defendants’ conduct complained of herein continues.

        24.     Plaintiff is committed to prosecuting this action and has retained competent

counsel experienced in litigation of this nature. Plaintiff’s claims are typical of the claims of the

other members of the Class and plaintiff has the same interests as the other members of the

Class. Accordingly, plaintiff is an adequate representative of the Class and will fairly and

adequately protect the interests of the Class.

        25.     The prosecution of separate actions by individual members of the Class would

create the risk of inconsistent or varying adjudications that would establish incompatible

standards of conduct for defendants, or adjudications that would, as a practical matter, be

dispositive of the interests of individual members of the Class who are not parties to the

adjudications or would substantially impair or impede those non-party Class members’ ability to

protect their interests.

        26.     Defendants have acted, or refused to act, on grounds generally applicable to the

Class as a whole, and are causing injury to the entire Class. Therefore, final injunctive relief on

behalf of the Class is appropriate.

                               SUBSTANTIVE ALLEGATIONS

Background of the Company and the Proposed Transaction

        27.     USG, through its subsidiaries and joint ventures, is a leading manufacturer of

building materials and innovative solutions that was originally formed in 1902. USG produces a

wide range of products for use in new residential, new nonresidential, and residential and

nonresidential repair and remodel construction, as well as products used in certain industrial




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processes. The Company serves construction markets around the world through its Gypsum,

Performance Materials, Ceilings, and USG Boral divisions.

       28.    In 2014, USG entered into a joint venture with USG Boral Building Products Pte

Limited and USG Boral Building Products Pty Limited (the “UBBP joint venture”). The UBBP

joint venture has been a leading plasterboard and ceilings producer across Asia, Australasia, and

the Middle East.

       29.    On June 10, 2018, USG’s Board caused the Company to enter into the Merger

Agreement with Knauf.

       30.    Pursuant to the terms of the Merger Agreement, if the Proposed Transaction is

approved by USG’s shareholders and completed, USG’s stockholders will receive $43.50 in cash

for each share of USG common stock they own, plus a conditional special cash dividend of $0.50

per share if the Proposed Transaction is approved by USG’s stockholders at the special

stockholder meeting, which is currently scheduled to take place on September 26, 2018.

       31.    In connection with the Proposed Transaction, Merger Sub will be merged with

and into the Company, with the Company continuing as the surviving corporation in the merger

and an indirect, wholly-owned subsidiary of Parent.

       32.    According to the press release announcing the Proposed Transaction:

              Gebr. Knauf KG (“Knauf”) and USG Corporation (NYSE:USG)
              (“USG”) today announced that they have entered into a definitive
              agreement pursuant to which Knauf will acquire all of the
              outstanding shares of USG in a transaction valued at
              approximately $7.0 billion. Under the terms of the agreement,
              USG shareholders will receive $44.00 per share, which consists of
              $43.50 per share in cash payable upon closing of the transaction
              and a $0.50 per share special dividend that would be paid
              following shareholder approval of the transaction. The price
              represents a premium of 31% to USG’s unaffected closing price of
              $33.51 and a 36% premium to the $32.36 average closing price for
              the preceding 12-month period, both as of March 23, 2018, and a



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              multiple of approximately 11.6x USG’s adjusted EBITDA for the
              12 months ended March 31, 2018. The transaction was
              unanimously approved by USG’s Board of Directors. Berkshire
              Hathaway has agreed to vote its shares in favor of the transaction.
              As of June 11, 2018, Berkshire Hathaway and its subsidiaries owns
              approximately 31% of the issued and outstanding shares of USG.

              The combined company results in a global building materials
              industry leader that will maximize Knauf and USG’s highly
              complementary businesses, products and global footprint to better
              meet the needs of both companies’ end-market customers.
              Following the close of the transaction, USG will continue to be
              managed locally in the United States, and Knauf intends to
              maintain USG’s existing corporate headquarters in Chicago as well
              as its facilities in North America. . . .

              The transaction is expected to close in early 2019, subject to
              customary closing conditions, including regulatory approvals and
              approval by USG shareholders.

              The transaction is not subject to any financing conditions. The
              transaction will be financed from existing cash and committed debt
              financing.

       The Proxy Statement Omits Material Information, Rendering It False and Misleading

       33.    Defendants filed the Proxy Statement with the SEC in connection with the

Proposed Transaction. As set forth below, the Proxy Statement omits material information with

respect to the Proposed Transaction.

       34.    The Proxy Statement omits material information regarding the Company’s

financial projections, as well as the valuation analyses performed by the Company’s financial

advisors in connection with the Proposed Transaction, Goldman Sachs & Co. LLC (“Goldman”)

and J.P. Morgan Securities LLC (“J.P. Morgan”).

       35.    The disclosure of projected financial information is material because it provides

stockholders with a basis to project the future financial performance of a company, and allows

stockholders to better understand the financial analyses performed by the company’s financial

advisor in support of its fairness opinion. Moreover, when a banker’s endorsement of the fairness


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of a transaction is touted to shareholders, the valuation methods used to arrive at that opinion as

well as the key inputs and range of ultimate values generated by those analyses must also be

fairly disclosed.

        36.    Defendants failed to disclose certain financial projections of USG, despite the fact

that Goldman and J.P. Morgan were provided with, and relied upon, those projections to perform

their valuation analyses to support their respective “fairness opinions.” In particular, according to

the Proxy Statement, in performing their discounted cash flow analyses, Goldman and J.P.

Morgan relied upon the Company’s projections of: (i) “unlevered free cash flows” for years 2018

through 2022 for (a) the Company, excluding the Company’s ownership stake in the UBBP joint

venture and excluding the value of USG’s net operating losses (“NOLs”) and other tax attributes

(“USG NA”); and (b) the UBBP joint venture; and (ii) USG’s NOLs.

        37.    The Proxy Statement, however, misleadingly discloses only the Company’s

projections of “Free Cash Flow (pre-Tax).” Defendants therefore failed to, but must, disclose the

Company’s projections of “unlevered free cash flows” for years 2018 through 2022 for USG NA

and the UBBP joint venture, as well as the Company’s projections of NOLs. This information is

material to USG stockholders, who are faced with a decision of whether to approve the Proposed

Transaction and receive cash for their shares, or reject the Proposed Transaction and remain

stockholders in the standalone USG. Moreover, stockholders are being misled into believing that

the projections that were disclosed in the Proxy Statement were the projections used by Goldman

and J.P. Morgan in their discounted cash flow analyses. That is incorrect. Accordingly, without

this information, stockholders are being misled into believing that the merger consideration is

fair.




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       38.    Relatedly, in the Proxy Statement, defendants disclosed USG’s projections of

certain non-GAAP (generally accepted accounting principles) financial measures, including

Adjusted Operating Profit, Adjusted EBITDA, and Free Cash Flow (pre-Tax), but defendants

failed to provide stockholders with the necessary line item projections for the metrics used to

calculate USG’s non-GAAP metrics or otherwise reconcile the non-GAAP projections to the

most comparable GAAP measures.

       39.    To avoid misleading stockholders with non-GAAP financial measures in business

combinations such as the Proposed Transaction, publicly traded companies must provide a

reconciliation of the differences between the non-GAAP financial measures with the most

comparable financial measures calculated and presented in accordance with GAAP. Indeed,

defendants acknowledge in the Proxy Statement that: “The Company Projections include ‘non-

GAAP financial measures,’ which should not be viewed as a substitute for, or superior to, U.S.

GAAP financial measures and may be different from non-GAAP financial measures used by

other companies. Furthermore, there are limitations inherent in non-GAAP financial measures

because they exclude items, including charges and credits, that are required to be included in a

U.S. GAAP presentation.” As such, USG’s stockholders are entitled to the line item projections

used to calculate the Company’s non-GAAP projections or a reconciliation of the non-GAAP

projections to the most comparable GAAP measures.

       40.    Defendants failed to disclose a fair summary of Goldman’s Selected Companies

Analysis in the Proxy Statement. Specifically, defendants only disclosed the five companies that

Goldman compared to the Company and their respective 2018 and 2019 enterprise value-to-

EBITDA (“EV/EBITDA”) multiples, but defendants failed to disclose USG’s estimated 2018

and 2019 EV/EBITDA multiples to which Goldman compared with the selected “comparable”




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companies. Accordingly, notwithstanding the implication that Goldman’s analysis supports the

fairness of the merger consideration, stockholders have no basis to understand whether

Goldman’s analysis actually supports the fairness or unfairness of the merger consideration.

       41.     Further, the omission of this information is material and misleading because

Goldman did not perform a typical comparable company analysis by selecting a range of trading

multiples based on the selected companies, and then applying the selected trading multiples to

the target’s relevant financial statistics to generate implied values of the target company (as J.P.

Morgan did in its comparable companies analysis, and Goldman and J.P. Morgan did in their

precedent transactions analyses). Instead, Goldman apparently only compared the 2018 and 2019

EV/EBITDA multiples of the selected companies to USG’s (undisclosed) multiples, thus

defeating the purpose of the analysis. The failure to disclose the Company’s 2018 and 2019

EV/EBITDA multiples therefore was a material omission and renders the Proxy Statement

materially misleading by wrongly implying that Goldman’s analysis supports the fairness of the

merger consideration.

       42.     With respect to each of Goldman’s and J.P. Morgan’s discounted cash flow

analyses, the Proxy Statement fails to disclose: (i) the unlevered free cash flows for years 2018

through 2022 for USG NA and the UBBP joint venture, and the line items used to calculate those

unlevered free cash flows; (ii) the Company’s projections of NOLs; and (iii) the specific

numerical inputs and assumptions underlying the discount rates selected and applied in

Goldman’s and J.P. Morgan’s analyses of USG NA, the UBBP joint venture, and USG’s NOLs.

       43.     The failure to disclose this information causes the Proxy Statement to be

misleading in that it makes the merger consideration appear fair. The omission of this

information is material and causes the Proxy Statement to be misleading because stockholders




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are being asked to rely on Goldman’s and J.P. Morgan’s analyses without being provided with

sufficient information regarding the key inputs used in the analyses. Without this information,

USG’s stockholders cannot assess the reliability of the analysis for themselves. This information

is particularly important here because stockholders are being asked to accept the cash merger

consideration in exchange for their interest in the Company’s future prospects.

       44.     The omission of the above-referenced material information renders the Proxy

Statement false and misleading, including, inter alia, the following sections of the Proxy

Statement: (i) Certain USG Unaudited Prospective Financial Information; and (ii) Opinions of

the Company’s Financial Advisors.

       45.     The omitted information, if disclosed, would significantly alter the total mix of

information available to the Company’s stockholders.

                                             COUNT I

      Claim for Violation of Section 14(a) of the 1934 Act and Rule 14a-9 Promulgated
                 Thereunder Against the Individual Defendants and USG

       46.     Plaintiff repeats and realleges the preceding allegations as if fully set forth herein.

       47.     The Individual Defendants disseminated the false and misleading Proxy

Statement, which contained statements that, in violation of Section 14(a) of the 1934 Act and

Rule 14a-9, in light of the circumstances under which they were made, omitted to state material

facts necessary to make the statements therein not materially false or misleading. USG is liable

as the issuer of these statements.

       48.     The Proxy Statement was prepared, reviewed, and/or disseminated by the

Individual Defendants. By virtue of their positions within the Company, the Individual

Defendants were aware of this information and their duty to disclose this information in the

Registration Statement.



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       49.     The Individual Defendants were at least negligent in filing the Proxy Statement

with these materially false and misleading statements.

       50.     The omissions and false and misleading statements in the Proxy Statement are

material in that a reasonable stockholder will consider them important in deciding how to vote on

the Proposed Transaction. In addition, a reasonable investor will view a full and accurate

disclosure as significantly altering the total mix of information made available in the Proxy

Statement and in other information reasonably available to stockholders.

       51.     The Proxy Statement is an essential link in causing plaintiff and the Company’s

stockholders to approve the Proposed Transaction.

       52.     By reason of the foregoing, defendants violated Section 14(a) of the 1934 Act and

Rule 14a-9 promulgated thereunder.

       53.     Because of the false and misleading statements in the Proxy Statement, plaintiff

and the Class are threatened with irreparable harm.

                                            COUNT II

                     Claim for Violation of Section 20(a) of the 1934 Act
                             Against the Individual Defendants

       54.     Plaintiff repeats and realleges the preceding allegations as if fully set forth herein.

       55.     The Individual Defendants acted as controlling persons of USG within the

meaning of Section 20(a) of the 1934 Act as alleged herein. By virtue of their positions as

officers and/or directors of USG and participation in and/or awareness of the Company’s

operations and/or intimate knowledge of the false statements contained in the Proxy Statement,

they had the power to influence and control and did influence and control, directly or indirectly,

the decision making of the Company, including the content and dissemination of the various

statements that plaintiff contends are false and misleading.



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       56.     Each of the Individual Defendants was provided with or had unlimited access to

copies of the Proxy Statement alleged by plaintiff to be misleading prior to and/or shortly after

these statements were issued and had the ability to prevent the issuance of the statements or

cause them to be corrected.

       57.     In particular, each of the Individual Defendants had direct and supervisory

involvement in the day-to-day operations of the Company, and, therefore, is presumed to have

had the power to control and influence the particular transactions giving rise to the violations as

alleged herein, and exercised the same.         The Proxy Statement contains the unanimous

recommendation of the Individual Defendants to approve the Proposed Transaction. They were

thus directly involved in the making of the Proxy Statement.

       58.     By virtue of the foregoing, the Individual Defendants violated Section 20(a) of the

1934 Act.

       59.     As set forth above, the Individual Defendants had the ability to exercise control

over and did control a person or persons who have each violated Section 14(a) of the 1934 Act

and Rule 14a-9, by their acts and omissions as alleged herein. By virtue of their positions as

controlling persons, these defendants are liable pursuant to Section 20(a) of the 1934 Act. As a

direct and proximate result of defendants’ conduct, plaintiff and the Class are threatened with

irreparable harm.

                                    PRAYER FOR RELIEF

       WHEREFORE, plaintiff prays for judgment and relief as follows:

       A.      Enjoining defendants and all persons acting in concert with them from proceeding

with, consummating, or closing the Proposed Transaction;

       B.      In the event defendants consummate the Proposed Transaction, rescinding it and

setting it aside or awarding rescissory damages;


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       C.      Directing the Individual Defendants to disseminate a Proxy Statement that does

not contain any untrue statements of material fact and that states all material facts required in it

or necessary to make the statements contained therein not misleading;

       D.      Declaring that defendants violated Sections 14(a) and/or 20(a) of the 1934 Act, as

well as Rule 14a-9 promulgated thereunder; and

       E.      Awarding the plaintiff the costs of this action, including reasonable allowance for

plaintiff’s attorneys’ and experts’ fees; and

       F.      Granting such other and further relief as this Court may deem just and proper.

                                    JURY TRIAL DEMAND

   Plaintiff hereby demands a trial by jury on all issues so triable.

 Dated: September 2, 2018                            RIGRODSKY & LONG, P.A.

                                                By: /s/ Gina M. Serra
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